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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS


  In re: PARAQUAT PRODUCTS                         Case No. 3:21-md-3004-NJR
  LIABILITY LITIGATION
                                                   MDL No. 3004
  This Document Relates to All Cases

                     STIPULATION OF WITHDRAWAL OF
          SUBPOENA TO DOUGLAS L. WEED, M.D. AND MOTION TO QUASH

        Plaintiffs and Douglas L. Weed, M.D., by and through their undersigned attorneys,

 stipulate and agree that:

    1. The parties have met and conferred, and resolved this dispute.

    2. Plaintiffs hereby withdraw the August 29, 2023 subpoena to produce documents directed

        to Dr. Douglas L. Weed.

    3. Dr. Weed hereby withdraws the motion to quash (Doc. 4943) filed on October 27, 2023 as

        the motion is moot following Plaintiffs’ withdrawal of the subpoena.

 Dated: November 3, 2023                            Respectfully submitted,

 /s/ Daniel J. Mohan (with consent)                 /s/ Sarah Shoemake Doles
 Daniel J. Mohan                                    Sarah Shoemake Doles
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                                                     PLAINTIFFS’ CO-LEAD COUNSEL



                                CERTIFICATE OF SERVICE

        I hereby certify that on November 3, 2023, I electronically filed the foregoing with the

 Clerk of Court using the CM/ECF system, which will send electronic notification of such filing to

 counsel of record.

                                                     /s/ Sarah Shoemake Doles
                                                     Sarah Shoemake Doles




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